AO 245 B&C (Rev_ i]]fi'}’) .iudgmcnt and .»'\ntcnded .ludgment in a Crimin£tl Case
(NOTE'_ For Arncnded ludgment, Identify Cha.ngcs with Asterisks ("))

UNITED STATES DISTRICT COURT

Not'thern District of Iowa

 

UNITED STATES OF AMERICA }JUDGMENT IN A CRIMINAL CASE
)
V. )Case Nuntber: 0862 2:16CR01018-0[}4
)
TYVVONE DERREL MATTHEWS ) USM Number: 16572_029

)

® ORIGlNAL JUDGM El\'T AIlIlc M. Ltlv€l’ty

g AM ENDED JUDGMENT Dcfendant’s Attomey

Date ot`Most Recent Judgment:
Rcason for Amendntent:

Rcduclion of Sentencc i’ursnant to the

THE DEFENDANT:
|:l pleaded guilty to count(s)

 

[:l pleaded nolo contendere to count(s)

 

which was accepted by the court.

Was found guilty on count(s] 8, 12, and 13 of the Superseding Indictment i`t|ed on .Iune 8, 2016
alier a plea of not guilly.

The defendant is adjudicated guilty ofthcse offenses:

Title & Set:tion Nature of Offense Offense Ended Count
2l U.S.C. §§ 84l(a)(l), Distribution of Heroin Within l,t}l}l] Feet of a Protected 03!2912016 8
84l(b)(l)(C}, 851, and Location .L\ftcr a Prior I)rug Fe|ony

860(5|)

21 U.S.C. §§ 84l(a)[l), Posscssion With Intent to Distribute Heroin and 04.1'1 112016 12
84l(b)(1)(C), 851, and Fentany| Within 1,|]00 Feet ofa Pretected Loeation

860(3) After a Prior Drug Felony

21 U.S.C. §§ 841(a)(l), Distribution of Hcroin and Fentanyl Within 1,00|] Feet Odr‘llf2016 13
841(b)(l)(C), 851, and of a Protected Location After a Prior Drug Felony

860(:\)

The defendant is sentenced as provided in pages 2 through 7 ofthisjudgrnent. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
l:l The defendant has been found not guilty on count(s)

 

Count(s} l was dismissed on November 28, 2016.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence, or
mailing address until all [ines, restitution, costs, and special assessments imposed by thisjudgme are fully paid. lfordered to pay restitution,
the defendant must notify the court and United States Attomey of material changes in nomi rc mstances.

   
 
 

Leonard 'l`. Strand

Chief U.S. Distl'ict Court .Iudge
Narnt: and 'i`itlc ol`Judge Signature of iudge

.]uly25,2017 q'/ 927_/ ill

Date of imposition of Judg,menl Dm"

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{NOTE: lior Amended Judgmt.‘nt, Idcnti fy Changes wilh Astcrisks (*))
Judgment _ Page 2 of 'F

DEFENDANT: TYWONE DERREL MATTHEWS
CASE NUMBER: 08622:16CR01018-004
PROBATION

[l The defendant is hereby sentenced to probation for a term of:

IMPRISONMENT

§ The defendant is hereby committed to the custody ofthe Federa| Bureau of Prisons to be imprisoned for a total term of:
71 months. This term of imprisonment consists ol`a 'l'l-month term imposed on each of Counts S, 12, and 13 ofthe

Superseding lndietment, to be served concurrent|y.

|E The court makes the foliowing recommendations to the Federal Bureau of Prisons:
lt is recommended that the defendant be designated to a Bureau of Prisons facility as close to Chicago, lllinois, as possible,

commensurate with the defendant’s security and custody classification needs.

§§ 'l`he defendant is remanded to the custody oftlte United States Marsha|.

l:] The defendant must surrender to the United States Marsltal for this district:
\:\ at m a.nt. l:l p.m. on

\:l as notified by the United States Marshal.

 

|:l The defendant must surrender for service of sentence at the institution designated by the Federa| Bureau ofPrisons:

l:l before 2 p.m. on
l:l as notified by the United States Marshal.
l:l as notified by the United States Probation or I’rctrial Services Oi`fice.

RETURN

 

I have executed thisjudgmenl as follows:

10

 

Del`endant delivered on

at , with a certified copy oftltisjudgment.

 

 

UN l'I`ED S'l`ATES MARSHAL

By

 

DEPUTY UN[TED STATES MARSHAL

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AO 245 B&C (Rev. t)lrl'i') _|udgntent and r\ntcndt:d .Tndgntenl in aCrtrninal Cttsc
(NOTE: For ¢\mended Judgment, identify Changes with Astcrisks (*))

Judgment_Page ; of _;F__
DEFENDANT: TYWONE I)ERREL MATTHEWS
CASE NUMBER: 0862 2:16CR{}1018-UO4

SUPERVISED RELEASE

g Upon release front intprisonmcnt. the defendant will be on supervised release for a term of:
6 years. This term of supervised release consists oi'a 6-year term imposed on each of Counts S, 12, and 13 ofthe

Superseding lnt|ictment, to be served concurrently.

 

MANDATORY CONDITIONS OF SUPERVISION

i] The defendant must not commit another fcderal, state, or local crimc,
2} The defendant must not unlawfully possess a controlled substance

3} The defendant must refrain from any unlawful use ofa controlled substance
The defendant must submit to otte drug test within 15 days of release from imprisonment and at least two periodic drug tests

thereafter, as determined by tlte court.
l:l The above drug testing condition is snspended, based on the court’s determination that the defendant poses a low risk of
future controlled substance abusc, (('iteck. gfcrppliccrble.)
4) The defendant must cooperate itt the collection of DNA as directed by the probation officer. (Check. {foppiicob!e.)

5] l:l The defendant tttust comply with the requirements oftlte Se)t Offender Registration and Notitication Act {42 U.S.C. § 16901,
er .req.} as directed by the probation officer, the Burcau of Prisons, or atty state sex offender registration agency in the location
where the defendant residcs, works, andior is a student. andfor was convicted ofa qualifying offense. (Check, r'fnpplr`cabfe.)

6) [:l The defendant must participate itt an approved program for domestic violence. (Chcc:’r, .ffdpp!icabie_)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.

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DEFENDANT: TYWONE DERREL MA'I`THEWS
CASE NUMBER: 0862 2:16CR{}1018-004

STANDARD CONDITIONS OF SUPERVISION

As part of the defendant's supervision, the defendant must comply with the following standard conditions of supervision. 'I`hcse
conditions are imposed because they establish the basic expectations for the defendant‘s behavior while on supervision and identify the
minimum tools needed by probation officers to keep informcd, report to the court about, and bring about improvements in tlte defendant’s
conduct and condition.

l) The defendant must report to the probation office in the federal judicial district where the defendant is authorized to reside within
72 hours ofthe time the defendant was sentenced and)'or released frotn imprisonment, unless the probation officer instructs the
defendant to report to a different probation office or within a different time frame.

2) After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
about how and when the defendant must report to the probation officer, and the defendant must report to thc probation officer as
instructed The defendant must also appear in court as required.

3] The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
getting permission from tlte court or the probation officer.

4) The defendant must answer truthfully the questions asked by the defendant’s probation officer.

5} The defendant tnust live at a place approved by the probation officer. |fthe defendant plans to change where tltc defendant lives
or anything about the defendant’s living arrangements (such as the people thc defendant lives with), the defendant must notify
the probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
unanticipated circumstances the defendant ntust notify the probation officer within ?2 hours of becoming aware ofa change or
expected chan ge.

6) The defendant must allow the probation officer to visit the defendant at any time at the defendant‘s honte or elsewhcrc, and the
defendant must permit the probation officer to take atty items prohibited by the conditions ofthe defendant‘s supervision that he
or she observes in plain vicw.

7) The defendant must work full time (at least 30 hours per weck] at a lawful type of employment, unless the probation officer
excuses the defendant from doing so. Ifthe defendant does not have full-time empioyrnent, thc defendant must try to find full-
time emp]oyment‘ unless the probation officer excuses the defendant frotn doing so. Iftlte defendant plans to change where the
defendant works or anything about the defendant‘s work (such as the defendant`s position or the defendant`sjob responsibilities),
the defendant must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstanccs, the defendant must notify the probation officer within 72
hours ofbecoming aware ofa change or expected change.

S) The defendant must not communicate or interact with someone the defendant knows is engaged in criminal activity. If the
defendant knows someone has been convicted ofa felony, the defendant must not knowingly communicate or interact with that
person without first getting the permission ofthe probation officer.

9) ifthe defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72
hours.

l0} The defendant must not own, possess, or have access to a fireartn, ammunition, destructive device, or dangerous weapon (i.e.,
anything that was designed, or was modified for, the specific purpose ofcausing bodily injury or death to another person such as
nunchakus or tasers),

l l) The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

12) As directed by the probation officer, the defendant must notify third parties of risks that may be occasioned by thc defendant`s
criminal record or personal history or characteristics and tnust permit the probation officer to make such notifications and to
confirm the defendant‘s compliance with such notification requirement

i3} The defendant must folfow the instructions ofthe probation officer related to the conditions of supervision

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ludgment_l’uge 5 of 7
DEFENDANT: TYWONE DERREL lVlATTHEWS
CASE NUMBER: 0362 Z:IGCRf}l(lIB-UM

SPECIAL CONDITIONS OF SUPERVISION

The defendant must compf}’ with riteft)fiowiitg special conditions us ordered b_t-' tire Cotirr nmi implemented by tire U.S. Proi)ation Office:

l. The defendant must participate in a substance abuse evaluation. The defendant must complete any
recommended treatment program, which may include a cognitive behavioral group, and follow the rules and
regulations of the treatment program. The defendant must participate in a program of testing for substance
abuse. The defendant must not attempt to obstruct or tamper with the testing mcthods.

2. The defendant must not use or possess alcohol. The defendant is prohibited from entering any establishment
that holds itself out to the public to be a bar or tavern without the prior permission of the United States
Probation Of`f'lce.

3. The defendant must not be on the premises of any casino during any period of the defendant’s supervision.
The defendant must not participate in any form of gambling, including but not limited to, lotteries, pull-tab
ca rds, card games, on-line gambling, horse and dog racing, and sports betting.

4. The defendant must participate in a gambling addiction evaluation. The defendant must complete any
recommended treatment program, and follow the rules and regulations of the treatment program.

5. lf not employed at a lawful type of employment as deemed appropriate by the United States Probation Ofiice,
the defendant must participate in employment workshops and report, as directcd, to the United States
Probation Off`ice to provide verification of daily job search results or other employment related activities. In
the event the defendant fails to secure employment, participate in the employment workshops, or provide
verification ofdaily job search rcsults, the defendant may be required to perform up to 20 hours of community
service per week until employed.

6. The defendant must submit the defendant’s person, property, house, residence, vehic|e, papers, computers [as
defined in 18 U.S.C. § 1030(e)(l)}, other electronic communications or data storage devices or ntedia, or office,
to a search conducted by a United States Probation Officer. Failure to submit to a search may be grounds for
revocation of release. The defendant must warn any other occupants that the premises may bc subject to
searches pursuant to this condition. The United States Probation Of{ice may conduct a search under this
condition only when reasonable suspicion exists that thc defendant has violated a condition of supervision and
that the areas to be searched contain evidence of this violation. Any search must be conducted ata reasonable
time and in a reasonable manner.

Thesc conditions have been read to me. l fully understand the conditions and have been provided a copy ofthem. Upon a finding ofa
violation of supervision I understand the Court may: {l) revoke supervision; (2) extend the term of supervision; andi'or (3) modify the
condition of supervision.

 

Defendant Datc

 

U.S. Probation OfficerfDesignated Witness Datc

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DEFENDAN'I`: TYWONE DERREL MATTHEWS
CASE NUMBER: 0862 2:16CR01018-004

CRIMINAL MONETARY PENALTIES

'l`hc defendant must pay thc total criminal monetary penalties under the schedule ofpayments on Sheet 6.

 

i\sscssment J\“'TA Assessment' Finc Restitution
TOTA LS 5 300 S 0 S 0 5 0

[:| 'l`he determination of restitution is deferred until . An .'lniendeci .!tttfgmenr in o C`t't`int`ncti Casc pto_wc) will be entered
after such determination

[:| 'l`he defendant must make restitution tinc|uding community restitution) to the following payees in the amount listed below.
lfthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified

otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i}, all nonfederal
victims must be paid before the United States is paid.

Namc of Payee Teta| Loss2 Restitution Ort|ercd Priority or Percentage
TO'I`A LS $ $

 

j:j Restitution amount ordered pursuant to plea agreement $

I:\ The defendant tnust pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date ofthe judgment, pursuant to 18 U,S.C. § 3612(0, A|| ofthe payment options on Sheet 6 may be subject
to penalties for delinquency and dcfault, pursuant to 18 U.S.C. § 3612{g}.

[:| 'l`hc court determined that the defendant does not have the ability to pay interest and it is ordered that:
El the interest requirement is waived for the jj fine |:\ rcstitution.
[:l the interest requirement for the m fine \:| restitution is modified as follows:

'lusticc for Victims of"l`raflicking Act of2015, lS U.S.C. § 3014.
:Findings for the total amount oflosses are required under Chapters 1091\, l l0, 1 IOA, and l 13r\ ofTitlc 18 for offenses committed on or

after Septcmbcr 13, 1994, but before April 23, 1996.

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Judgment_Page 'l' of ';'
DEFENDANT: TYWONE DERREL MATTHEWS
CASE NUMBER: 0862 2:16CR01018-004

SCHEDULE OF PAYMENTS

Having assessed the defendant`s ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A Lump sum payment ofS 300 due immediately, balance due
g not later than , or
m in accordance with i:| C, \:\ D, ij E. or [:| F helo\v; or
B |:l Payment to begin immediately (may be combined with [:i C, [:] D, or I:| F belo\v); or
C l:] Paymem in €C[ll“l re.g., \\’eeit'!y, ninninly, quarterly installments of S over a period of
ni_g.. months nrvit'nr.o, to commence ne.g.. 30 or 61'):!¢:,-,-»3; alter the date ofthisjudgment; or
D [:I Payment in equal r`e.g.. iret'l‘l_r. nnnnnl_i-. qnnrier.{~,-) installments of S over a period of
n»_g__ months or_renrs_). to commence (e.g.. 30 or 60 dam after release from imprisonment to a
term ofsupervision; or
E \:| Payment during the term of supervised release will commence within re.g., 30 or 60 days,t after release f`rorn

imprisonment The court will set the payment plan based on an assessment ofthe defendant’s ability to pay at that time; or

F i:i Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminai monetary penalties is due
during imprisonment All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financia| Responsibility Program, are made to the clerk ofthe court.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed

|:i joint and Several

Defendant and Co-De fendant Namcs and Casc Numbers (i‘ncnnn`ng defenrnnn nrnnl)eij, Total Amount, Joint and Several Amount,
and corresponding payee. ifappropriatc.

|:i The defendant must pay the cost ofprosecution.
|:l The defendant must pay the following court cost{$):
[l The defendant must forfeit the dcfendant`s interest in the following property to the United States:

Payments shall be applied in the following order: {l) assessment, (2) restitution principal, (3) restitution interest, [4) fine principal,
(5) fine interest. (6) community restitution, ('r') .IVT.-\ assessment, (8} penalties, and (9} costs, including cost of prosecution and court
costs.

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